                  Case: 1:17-mj-00570-SKB Doc #: 1 Filed: 07/19/17 Page: 1 of 1 PAGEID #: 1
AO 106 (Rev. 04/ 10) Application for a Search Warrant




                                                                                 for the
                                                                        Southern District of Ohio                 7u17 JUL I 9 AM 11: I 3
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                In the Matter of the Search of                                                                                      ~. ·. .            ..~ H lO

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                                                                                   )
          (Briefly describe the property to be searched                            )                                                                                ' ·~
           or identify the person by name and address)                                        Case No.
                                                                                   )
Priority Mail package tracking number 9405536897846 184 120365, postmarked         )
   may 7, 2017, weighi ng 10 ounces. addressed to Devin Fuller, 47 15 Central
 Ave nue Apartment 2, Middletown, OH 45044 with a return address of Trevor         )
                Gray, 10411 South Drive, Houston, TX 77099.                        )

                                                    APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
Priority Mail package tracking number 9405536897846184120365

located in the                  Southern                 District of                   Ohio                 , there is now concealed (identify the
                      -------~                                            -----------~

person or describe the property to be seized):
Controlled Substances, materials and documents reflecting the distribution of controlled substances through
the U.S. Mails, including money and/or monetary instruments paid for controlled substances

           The basis for the search under Fed. R. Crim. P . 41(c) is (check one or more) :
                l2J evidence of a crime;
                    l2J   contraband, fruits of crime, or other items illegally possessed;
                    D property designed for use, intended for use, or used in committing a crime;
                    D a person to be arrested or a person who is unlawfully restrained.
           The search is related to a violation of: Title 21
          Code Section                                                                   Offense Description
841 (a) (1), 843 (b) & 846                              Conspiracy to distribute a controlled substance
                                                        Possession with intent to distribute a controlled substance

           The application is based on these facts:
See attached affidavit of U.S. Postal Inspector Rossiter

            l2J    Continued on the attached sheet.
            D      Delayed notice         days (give exact ending date if more than 30 days: - - - - - - ) is requested
                   under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                    ~p~
                                                                                     ~----
                                                                                      Applicant 's signature

                                                                                               Joseph L. Rossiter, U.S. Postal Inspector
                                                                                                           Printed name and title

Sworn to before me and signed in my presence.


Date:      2/J t1-i    CJ

                                                                                                    Honorable Stephanie K. Bowman
City and state: Cincinnati, Ohio
                                                                                                     United States Magistrate Judge
                                                                                                           Printed name and title
